                     EXHIBIT D




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Ronald G. Harris

From:                            Ronald G. Harris
Sent:                            Friday, June 7, 2024 12:26 PM
To:                              Katherine Barrett Riley
Subject:                         FW: Sills v. Southern Baptist Convention et al


We got your email this morning and have tried to reach you by telephone. We sent an email yesterday that asked
for 2 weeks until June 21 (see below). Phil Elbert advised yesterday that we needed the additional
time because of the amount of information involved, our client's work schedule and the time demands on other
cases by our attorneys (I have had a major exhibit production in a federal criminal case and Phil is in
the middle of a preliminary injunction fight-hearing on Monday). We respectfully request two additional weeks
(which actually amounts to the same amount of time that we originally requested) .. Please let us know as
soon as possible.


From: Ronald G. Harris
Sent: Thursday, June 6, 2024 2:41 PM
To: Katherine Barrett Riley <KBRiley@BarrettLawGroup.com>
Cc: Philip N. Elbert <pelbert@nealharwell.com>; Olivia R. Arboneaux <oarboneaux@nealharwell.com>; Nanci-Taylor
Maddux <NTMaddux@BarrettLawGroup.com>
Subject: RE: Sills v. Southern Baptist Convention et al

Hi Katherine, sorry that you have to deal with this on your vacation. As I overheard Phil Elbert ask you in the phone
call, we need additional time to respond on behalf of Jennifer to the outstanding
discovery requests. We appreciate you originally granting us an extension until June 7. In my prior request I had
asked for a longer extension than June 7, suspecting the time needed due to amount of information we would have
to go through and the logistics of doing so. During that prior conversation, you said you would consider additional
time if we needed it. Although we have made significant progress, we still need some additional
time to complete our response. I understand from listening to your conversation with Phil, that you would not be
willing to give us a two-week extension but would consider a 1o day extension for our responses,
subject to checking with the other attorneys on your team. Thanks for your consideration.

Thanks ..

Ron Harris


From: Katherine Barrett Riley <KBRiley@ Ba rrettLawG rou p.com>
Sent: Tuesday, May 21, 2024 6:56 PM
To: Ronald G. Harris <rharris@nealharwe ll.com >
Cc: Philip N. Elbert <pe·lbert@nealharwell. com>; Olivia R. Arboneaux <oarboneaux@nea lharwell.com>; Nanci-Taylor
Maddux <NTMaddux@BarrettLawGroup.com>
Subject: RE: Sills v. Southern Baptist Convention et al

Hi, Ron. This confirms that I have granted an extension until June 7, and I am willing to discuss a further extension
for a rolling production of documents after that date. Katherine

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662-834-2488
~ 6nley@6arrett!awaroup.com

From: Ronald G. Harris <rharris@nealharwell. com >
Sent: Tuesday, May 21, 2024 6:50 PM
To: Katherine Barrett RIiey <KBRiley@BarrettLawGroup.com>
Cc: Philip N. Elbert <pelbert@nealharwell.com>; Olivia R. Arboneaux <oarboneaux@nealharwell.com>
Subject: Sills v. Southern Baptist Convention et al

Katherine, this is to confirm our conversation today that you are willing to give our client Jennifer Lyell an
extens ion, up to and including June 7 to respond to the
outstanding discovery requests that the Plaint1ffs had propounded to Ms. Lyell. I asked for a longer extension of
time given the amount of material that we are going to
have to review. You advised that you had given other defendants an extension until June 7 and wanted to hold that
date for now for "house-keeping purposes." This is to confirm that you
advised "off the record" that we could revisit that date with you if we needed more time.

Thanks for your cooperation in this matter.

Ron




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